                         Case 4:11-cr-00017-JM               Document 68                Filed 11/07/11         Page 1 of 4
AD 245B        (Rev. 09/11) judgment in a Criminal Case
               Sheet 1
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                                                                                                                            r: II I:: n
                                                                                                                        STERN DISTRICT ARKANSAS
                                          UNITED STATES DISTRICT COURT
                                                                                                                         NOV 072011
                                                          Eastern District of Arkansas                       JAMES W. Me 0
              UNITED STATES OF AMERICA                                     ~         JUDGMENT IN fc'Rm1flNLtft£'ApW~~=
                                   v.                                      )
                                                                           )
                         GORDON KING                                                 Case Number:           4: llCR00017-04 JLH
                                                                           )
                                                                           )         USMNumber:             10825-032
                                                                           )
                                                                           )         Patrick J. Benca
                                                                                     Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)         Count Is of Misdemeanor Information

o pleaded nolo contendere to count(s)
   which was accepted by the court.
o was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                           Offense Ended               Count
18 U.S.c. § 1791(a)(2)            Possession of prohibited object in prison by inmate,                          10/5/2009                 Is
                                   a Class B misdemeanor




       The defendant is sentenced as provided in pages 2 through                 4
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
x Count(s) Counts 1, 2, 3 of Indictment            o is           X are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material changes in econormc circumstances.




                                                                          J. LEON HOLMES, UNITED STATES DISTRICT JUDGE
                                                                          Name and Title of Judge


                                                                          November 7, 2011
                                                                          Date
                        Case 4:11-cr-00017-JM                Document 68            Filed 11/07/11        Page 2 of 4
AO 2458     (Rev. 09/11) Judgment in Criminal Case
            Sheet 2 - Imprisonment

                                                                                                       Judgment -   Page   2    of   4
DEFENDANT:                     GORDON KING
CASE NUMBER:                   4: 11CROOO17-04 JLH


                                                               IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

                                 TIME SERVED with No Term of Supervised Release to follow


    o The court makes the following recommendations to the Bureau of Prisons:



    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
      o at                                  0 a.m.       o p.m. on
          [] as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before 2 p.m. on
          [] as notified by the United States Marshal.

          [J as notified by the Probation or Pretrial Services Office.


                                                                   RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                          to

a                                                    , with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL


                                                                           By
                                                                                                 DEPUTY UNITED STATES MARSHAL
                      Case 4:11-cr-00017-JM                 Document 68         Filed 11/07/11          Page 3 of 4
AO 2458   (Rev. 09111) Judgment in a Criminal Case
          Sheet 5 - Criminal Monetary Penalties
                                                                                                  Judgment - Page   ~3,--_    of        4
DEFENDANT:                        GORDON KING
CASE NUMBER:                      4: l1CR00017-04 JLH
                                              CRIMINAL MONETARY PENALTIES
    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                                     Fine                                 Restitution
TOTALS           $ 10.00                                          $ 0                                 $ 0


o The determination of restitution is deferred until       --­
                                                                 . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

o The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximatelyproportioned l'ayment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664{1), all nonfederal victims must be paid
    before the United States is patd.

Name of Payee                                Total Loss*                    Restitution Ordered                     Priority or Percentage




TOTALS                              $ ---------                         $-------­


o     Restitution amount ordered pursuant to plea agreement $

o    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).

o    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      o the interest requirement is waived for the 0 fine 0 restitution.
      o the interest requirement for the 0 fine 0 restitution is modified as follows:

* Findings for the total amount oflosses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
Septemoer 13, 1994, but before April 23, 1990.
                         Case 4:11-cr-00017-JM                     Document 68           Filed 11/07/11            Page 4 of 4
AO 245B    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments

                                                                                                                 Judgment - Page       4      of          4
DEFENDANT:                    GORDON KING
CASE NUMBER:                  4:11CR00017-04 JLH

                                                           SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment ofthe total criminal monetary penalties is due as follows:

A     X    Lump sum payment of $ ---=-10=..:.-=-00-=--­          _ due immediately, balance due

           [J     not later than                                       , or
           D      in accordance             D C,          D D,     D     E, or    D Fbelow; or
B     D    Payment to begin immediately (may be combined with                    DC,       D D, or       D F below); or
C     D    Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                            (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D     D Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                            (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    D     Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    D Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
